               Case 13-12127-MM7                                           Filed 12/20/13                    Entered 12/20/13 16:43:43                                           Doc 1             Pg. 1 of 66
B1 (Official Form 1) (4/13)
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          SOUTHERN DISTRICT OF CALIFORNIA
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Moter, LaVerne Clifford                                                                                              Moter, Carol
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  aka Vern Moter                                                                                                       NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   4332                                                                                (if more than one, state all):   2483
  Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor (No. & Street, City, and State):
  3525 Del Mar Heights Road                                                                                            3525 Del Mar Heights Road
  # 632                                                                                                                # 632
                                                                                               ZIPCODE                                                                                                          ZIPCODE
  San Diego, CA                                                                                92130                   San Diego, CA                                                                            92130
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    San Diego                                                            Principal Place of Business:                   San Diego
  Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                       (if different from street address):

  SAME                                                                                                             SAME
                                                                                               ZIPCODE                                                                                                          ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                ZIPCODE
  (if different from street address above): SAME


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                  Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                     business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
             Case 13-12127-MM7                         Filed 12/20/13                  Entered 12/20/13 16:43:43                                 Doc 1            Pg. 2 of 66
B1 (Official Form 1) (4/13)                                                                                                                                           FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             LaVerne Clifford Moter and
  (This page must be completed and filed in every case)
                                                                                             Carol Moter
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X                                                                                   12/17/2013
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
            Case 13-12127-MM7                            Filed 12/20/13       Entered 12/20/13 16:43:43                           Doc 1          Pg. 3 of 66
B1 (Official Form 1) (4/13)                                                                                                                          FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     LaVerne Clifford Moter and
   (This page must be completed and filed in every case)
                                                                                     Carol Moter
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ LaVerne Clifford Moter
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Carol Moter
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     12/17/2013                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Andrew S. Bisom                                                          I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Andrew S. Bisom 137071
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Bisom Law Group                                                            pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     8001 Irvine Center Drive                                                   or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Suite 1170
     Irvine, CA                  92618
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     714-643-8900
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     12/17/2013                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
            Case 13-12127-MM7                     Filed 12/20/13              Entered 12/20/13 16:43:43                       Doc 1    Pg. 4 of 66
B 1D (Official Form 1, Exhibit D) (12/09)




                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                    SAN DIEGO DIVISION

In re LaVerne Clifford Moter                                                                                              Case No.
      and                                                                                                                               (if known)
      Carol Moter
                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
             Case 13-12127-MM7                      Filed 12/20/13              Entered 12/20/13 16:43:43                       Doc 1     Pg. 5 of 66
 B 1D (Official Form 1, Exhibit D) (12/09)



               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ LaVerne Clifford Moter
                                    Date:    12/17/2013
            Case 13-12127-MM7                     Filed 12/20/13              Entered 12/20/13 16:43:43                       Doc 1          Pg. 6 of 66
B 1D (Official Form 1, Exhibit D) (12/09)




                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                    SAN DIEGO DIVISION

In re LaVerne Clifford Moter                                                                                              Case No.
      and                                                                                                                 Chapter 7
      Carol Moter

                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.
             Case 13-12127-MM7                      Filed 12/20/13              Entered 12/20/13 16:43:43                       Doc 1     Pg. 7 of 66
 B 1D (Official Form 1, Exhibit D) (12/09)



               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Carol Moter
 Date:    12/17/2013
               Case 13-12127-MM7                     Filed 12/20/13            Entered 12/20/13 16:43:43                      Doc 1        Pg. 8 of 66
B6 Summary (Official Form 6 - Summary) (12/07)




                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                    SAN DIEGO DIVISION
   In re LaVerne Clifford Moter and Carol Moter                                                                              Case No.
                                                                                                                             Chapter 7


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $              500,000.00

 B-Personal Property
                                             Yes                5        $          1,200,384.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                2                                          $              414,666.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                9                                          $         2,455,733.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                4,343.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                2                                                                          $                9,221.00

                                  TOTAL                       24         $          1,700,384.00 $                  2,870,399.00
              Case 13-12127-MM7
B6 Summary (Official Form 6 - Summary) (12/07)
                                                     Filed 12/20/13            Entered 12/20/13 16:43:43                       Doc 1        Pg. 9 of 66



                                              UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
                                                     SAN DIEGO DIVISION
   In re LaVerne Clifford Moter and Carol Moter                                                                               Case No.
                                                                                                                              Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $

   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $

   Student Loan Obligations (from Schedule F)                                                                     $

   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $

                                                                                                     TOTAL        $


 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $

   Average Expenses (from Schedule J, Line 18)                                                                        $

   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $

 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $

   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $

   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $

   4. Total from Schedule F                                                                                                                      $

   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $
              Case 13-12127-MM7                          Filed 12/20/13        Entered 12/20/13 16:43:43                     Doc 1        Pg. 10 of 66
B6 Declaration (Official Form 6 - Declaration) (12/07)




In re LaVerne Clifford Moter and Carol Moter                                                                                 Case No.
                               Debtor                                                                                                                             (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           25    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   12/17/2013                                      Signature   /s/ LaVerne Clifford Moter
                                                                          LaVerne Clifford Moter


      Date:   12/17/2013                                      Signature   /s/ Carol Moter
                                                                          Carol Moter

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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FORM B6A (Official Form 6A) (12/07)



In re LaVerne Clifford Moter and Carol Moter                                                     ,                Case No.
                        Debtor(s)                                                                                                              (if known)


                                                SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


Skyland Lot, Crested Butte, CO. 81224                         Fee Simple                                     H      $135,000.00            $20,000.00




227   White   Stallion                Circle,        Crested Fee Simple                                      C      $365,000.00           $365,000.00
Butte, CO. 81224




No continuation sheets attached                                                            TOTAL $                 500,000.00
                                                                    (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)



In re LaVerne Clifford Moter and Carol Moter                                                              ,                  Case No.
                         Debtor(s)                                                                                                                               (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                   N            Description and Location of Property                                                    Value
                                                                                                                                                of Debtor's Interest,
                                                  o                                                                         Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                  n                                                                                              Secured Claim or
                                                                                                                               Joint--J
                                                  e                                                                       Community--C               Exemption


1. Cash on hand.                                  X

2. Checking, savings or other financial               Checking Account                                                                 C                     $749.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Location: Bank of America
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

                                                      Checking Account                                                                 C                         $0.00
                                                      Location: Bank of the West

                                                      Checking Account                                                                                           $0.00
                                                      Custodial Account for minor daughter
                                                      Balance - $28

                                                      Location: Wells Fargo Bank

                                                      Savings Account                                                                  C                         $5.00
                                                      Location: Avanti FCU

                                                      Savings Account                                                                  C                         $0.00
                                                      Custodial Account for minor son
                                                      Balance - $290
                                                      Location: Wells Fargo Bank

                                                      Savings Account                                                                  C                         $0.00
                                                      Custodial Account for minor daughter
                                                      Balance - $34
                                                      Location: Wells Fargo Bank

                                                      Savings Account                                                                  C                     $200.00
                                                      Location: USAA

3. Security deposits with public utilities,           Security Deposits                                                                C                 $6,200.00
   telephone companies, landlords, and
   others.                                            Location: Chen (Zack) Ching-Yang


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                 Case 13-12127-MM7                       Filed 12/20/13      Entered 12/20/13 16:43:43     Doc 1       Pg. 13 of 66
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In re LaVerne Clifford Moter and Carol Moter                                                           ,     Case No.
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption



4. Household goods and furnishings,                    Furniture & Furnishings                                        C             $1,500.00
   including audio, video, and computer
   equipment.                                          Location: In Debtors' Possession

5. Books, pictures and other art objects,              Books, Pictures                                                C                 $500.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or              Location: In Debtors' Possession
   collectibles.

6. Wearing apparel.                                    Clothing                                                       C                 $250.00
                                                       Location: In Debtors' Possession

7. Furs and jewelry.                                   Jewelry                                                        C                 $635.00
                                                       Location: In Debtors' Possession

8. Firearms and sports, photographic, and              Sports Equipment                                               C                 $300.00
   other hobby equipment.
                                                       Location: In Debtors' Possession

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)
12. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and            American Undeveloped Real Estate, LP                           H                     $0.00
    unincorporated businesses. Itemize.
                                                       Owns 160 acres in Arizona, valued at 80k.
                                                       Debts against the entity exceed its value

                                                       Location: In debtor's possession


                                                       Business School Bootcamp, Inc.                                 C             $1,000.00
                                                       Location: In Debtors' Possession

                                                       FFL Shamrock Publishing, LLC                                   C                     $0.00
                                                       Location: In debtor's possession


                                                       FLL Shamrock LP                                                C      $1,030,000.00
                                                       Note - Value based upon            R.E. owned by

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In re LaVerne Clifford Moter and Carol Moter                                                           ,     Case No.
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption


                                                       subsiderary entities. Value does not take
                                                       into account mortgages on properties, which
                                                       are in Debtors' names.
                                                       Location: In debtor's possession


                                                       Financial Lifestyle Strategies, Inc.                           C             $2,000.00
                                                       Location: In debtor's possession


                                                       Forbes Firearms, Inc.                                          C                     $0.00
                                                       Location: In debtor's possession


                                                       LT Management Services, LLC                                    C                     $0.00
                                                       Location: In debtor's possession


                                                       Shamrock Energy, LLP                                           C                     $0.00
                                                       Location: In debtor's possession


                                                       Shamrock Management, Inc.                                      C                 $500.00
                                                       Location: In debtor's possession


                                                       Timbers Townhomes, B&C, LLP                                    C                     $0.00
                                                       Location: In debtor's possession


                                                       Video Advisor, Inc.                                            C                     $0.00
                                                       Location: In debtor's possession


                                                       Wyoming V., LLC                                                C                     $0.00
                                                       Location: In debtor's possession


14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.




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In re LaVerne Clifford Moter and Carol Moter                                                           ,     Case No.
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption

16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual        Intellectual Property                                          C                 $200.00
    property. Give particulars.
                                                       Two self-published books
                                                       Location: In debtor's possession


23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            2007 Mercedes Benz GL450                                                   $15,145.00
    vehicles and accessories.
                                                       No equitable interest. Vehicle purchased for
                                                       friend (Julie Garcia)
                                                       Ms. Garcia pays the loan payments, insurance
                                                       and all other expenses
                                                       Location: Julie Garcia


                                                       2014 BMW X3 (Lease)                                            C                     $0.00
                                                       Location: In debtor's possession


26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X



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In re LaVerne Clifford Moter and Carol Moter                                                      ,              Case No.
                         Debtor(s)                                                                                                                  (if known)


                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                        Current
                 Type of Property             N            Description and Location of Property                                          Value
                                                                                                                                   of Debtor's Interest,
                                              o                                                                  Husband--H        in Property Without
                                                                                                                     Wife--W          Deducting any
                                              n                                                                                     Secured Claim or
                                                                                                                    Joint--J
                                              e                                                                Community--C             Exemption

28. Office equipment, furnishings, and            Office Equipment                                                         C                    $200.00
    supplies.
                                                  Location: In debtor's possession


29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not       Note Receivable owed to Kimber Investments,                              C            $141,000.00
    already listed. Itemize.
                                                  LLC, and entitiy 100% owned by Debtors

                                                  Location: In debtor's possession




Page       5      of   5                                                                                    Total                     $1,200,384.00
                                                                                                                (Report total also on Summary of Schedules.)
                                                                                                      Include amounts from any continuation sheets attached.
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B6C (Official Form 6C) (04/13)




In re LaVerne Clifford Moter and Carol Moter                                                  ,                  Case No.
                        Debtor(s)                                                                                                                 (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:         Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                    Specify Law                               Value of                  Current
             Description of Property                               Providing each                             Claimed              Value of Property
                                                                     Exemption                               Exemption             Without Deducting
                                                                                                                                      Exemptions


Checking Account                                    Calif. C.C.P. §703.140(b)(5)                                  $ 749.00                     $ 749.00

Savings Account                                     Calif. C.C.P. §703.140(b)(5)                                  $ 200.00                     $ 200.00

Furniture & Furnishings                             Calif. C.C.P. §703.140(b)(3)                               $ 1,500.00                $ 1,500.00

Books, Pictures                                     Calif. C.C.P. §703.140(b)(5)                                  $ 500.00                     $ 500.00

Clothing                                            Calif. C.C.P. §703.140(b)(3)                                  $ 250.00                     $ 250.00

Jewelry                                             Calif. C.C.P. §703.140(b)(4)                                  $ 635.00                     $ 635.00

Sports Equipment                                    Calif. C.C.P. §703.140(b)(5)                                  $ 300.00                     $ 300.00

2007 Mercedes Benz GL450                            Calif. C.C.P. §703.140(b)(5)                                  $ 479.00             $ 15,145.00

Office Equipment                                    Calif. C.C.P. §703.140(b)(6)                               $ 2,000.00                      $ 200.00




    Page No.      1 of       1

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re LaVerne Clifford Moter and Carol Moter                                                         ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated




              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien
                                                   Co-Debtor




                                                                                                                                       Deducting Value
                                                                                                                     Disputed




                  Account Number
              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   2640                                             C                                                                           $ 14,666.00                              $ 0.00

Creditor # : 1                                                     Automobile Loan
Avanti Federal Credit Union
P.O. Box 534
Watertoon SD 57201


                                                                   Value:   $ 15,145.00
Account No:   5286                                             C                                                                         $ 380,000.00                    $ 15,000.00

Creditor # : 2                                                     1st T.D.
Bank of the West
13505 California St.                                               227 White Stallion Circle,
NE-BBP-01-T                                                        Crested Butte, CO. 81224
Omaha NE 68154

                                                                   Value:   $ 365,000.00
1      continuation sheets attached                                                                             Subtotal $               $ 394,666.00                     $ 15,000.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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B6D (Official Form 6D) (12/07)   - Cont.



In re LaVerne Clifford Moter and Carol Moter                                                            ,                                    Case No.
                           Debtor(s)                                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                 (Continuation Sheet)


                Creditor's Name and                            Date Claim was Incurred, Nature                                            Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                              Without                   Portion, If Any




                                                                                                                        Unliquidated
              Including ZIP Code and




                                                                                                                        Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor

                                                                                                                                          Deducting Value




                                                                                                                        Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                    of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:                                                    C                                                                              $ 20,000.00                              $ 0.00

Creditor # : 3                                                     1st T.D.
Frontier Bank
P.O. Box 7319                                                      Skyland Lot, Crested Butte,
Pueblo West CO 81007                                               CO. 81224


                                                                   Value:   $ 135,000.00
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                                 Subtotal $                 $ 20,000.00                               $ 0.00
Holding Secured Claims                                                                                          (Total of this page)
                                                                                                                         Total $            $ 414,666.00                     $ 15,000.00
                                                                                                            (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report also on
                                                                                                                                       Schedules.)                  Statistical Summary of
                                                                                                                                                                    Certain Liabilities and
                                                                                                                                                                    Related Data)
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B6E (Official Form 6E) (04/13)


In re LaVerne Clifford Moter and Carol Moter                                                             ,                             Case No.
                           Debtor(s)                                                                                                                               (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
     507(a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
              Case 13-12127-MM7                   Filed 12/20/13                         Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 21 of 66

B6F (Official Form 6F) (12/07)


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2002
Account No:                                                         C                                                                                                                                      $ 3,286.00
Creditor # : 1                                                           Credit Card Purchases
American Express
P.O. Box 0001
Los Angeles CA 90096



          1002
Account No:                                            X H                                                                                                                                                    $ 873.00
Creditor # : 2                                                           Credit Card Purchases
American Express
P.O. Box 0001
Los Angeles CA 90096



          3006
Account No:                                                         C                                                                                                                                      $ 2,038.00
Creditor # : 3                                                           Credit Card Purchases
American Express
P.O. Box 0001
Los Angeles CA 90096



     8 continuation sheets attached                                                                                                                  Subtotal $                                            $ 6,197.00
                                                                                                                                                                     Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 22 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2488
Account No:                                                         W                                                                                                                                      $ 2,221.00
Creditor # : 4                                                           Automobile Deficiency
Bank of America
P.O. Box 21848
Greensboro NC 27420



Account No:                                                         C                                                                                                                                         $ 650.00
Creditor # : 5                                                           Overdraft / Checking Account
Bank of the West
Mail Stop NE-BBP-03-B
P.O. Box 2573
Omaha NE 68103


Account No:                                                         C                                                                                                                                            $ 0.00
Creditor # : 6
Carl and Diane Miller                                                    Notices Purposes Only
7911 County Road 730
Gunnison CO 81230



Account No:                                             X C                                                                                                                                                      $ 0.00
Creditor # : 7
CJ and Anne Miller                                                       Notices Purposes Only
618 N. Iowa
Gunnison CO 81230



Account No:                                                         C   2008                                                                                                                                  $ 324.00
Creditor # : 8                                                          State Income Tax
Colorado Department of Revenue                                          2008 State Income Tax




Sheet No.      1 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                            $ 3,195.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 23 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:

Representing:                                                           Integral Recoveries
                                                                        750 W. Hampden Ave., #501
                                                                        Englewood CO 80110
Colorado Department of Revenue



          6781
Account No:                                                         W                                                                                                                                     $ 12,934.00
Creditor # : 9                                                           Credit Card Purchases
Discover
P.O. 30943
Salt Lake City UT 84130



Account No:                                                         H                                                                                                  X X                               $ 125,000.00
Creditor # : 10
Doug Martin
16380 County Road, #306
Buena Vista CO 81211



          4222
Account No:                                                         C                                                                                                                                      $ 1,684.00
Creditor # : 11
Ferrellgas
P.O. Box 1003
Liberty MO 64069



Account No:                                             X C                                                                                                                                                      $ 0.00
Creditor # : 12
Gail Frank                                                               Notices Purposes Only
32285 J. Road
Hotchkiss CO 81419




Sheet No.      2 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                         $ 139,618.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 24 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          9267
Account No:                                                         C                                                                                                                                      $ 1,741.00
Creditor # : 13
GE Capital Retail Bank                                                   Home Design Furniture/GECRB
P.O. Box 103106
Att: Bankruptcy Dept.
Rosewell GA 30076


          4930
Account No:                                                         C                                                                                                                                      $ 2,462.00
Creditor # : 14
GE Capital Retail Bank                                                   Ashley Furniture Homestores
P.O. Box 103106
Att: Bankruptcy Dept.
Rosewell GA 30076


Account No:                                             X C                                                                                                                                                      $ 0.00
Creditor # : 15
Glenn Sammons                                                            Notice Purposes Onlyt
103 Juniper Way
Gunnison CO 81230



Account No:                                                         C                                                                                                                                      $ 6,051.00
Creditor # : 16                                                          Property Taxes
Gunnison County Treasurer                                                Property tax on 655 Country Club
221 N. Wisconson, Ste. T
Gunnison CO 81230                                                        Dr., Skyland, Co.
                                                                         Title to property held by ?



Account No:                                             X H                                                                                                            X X                            $ 1,192,248.00
Creditor # : 17
Heidi Bagus
29856 Redlands Mesa Road
Hotchkiss CO 81419




Sheet No.      3 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 1,202,502.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 25 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:

Representing:                                                           Richard Dally, Esq.
                                                                        4601 DTC Blvd, Ste. 950
                                                                        Denver CO 80237
Heidi Bagus



          6233
Account No:                                                         C                                                                                                                                      $ 1,123.00
Creditor # : 18
HVM Inc. Security Systems
P.O. Box 276
Crested Butte CO 81224



Account No:     6233
Representing:                                                           Revenue Cycle Management
                                                                        P.O. Box 638
                                                                        Moon Twp. PA 15108
HVM Inc. Security Systems



Account No:                                                         C                                                                                                                                     $ 80,000.00
Creditor # : 19                                                          Loans
Cliff and Jan Moter
P.O. Box 445
Clear Lake SD 57226



Account No:                                                         C                                                                                                                                      $ 8,125.00
Creditor # : 20                                                          Loans
Kaylea Ostander
P.O. Box 445
Clear Lake SD 57226




Sheet No.      4 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                           $ 89,248.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 26 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                             X C                                                                                                            X X                               $ 256,419.00
Creditor # : 21
Lisa Hurley
6820 Olive Way
Lakewood CO



Account No:

Representing:                                                           Richard L. Dally, Esq.
                                                                        4601 DTC Blvd., Ste. 950
                                                                        Denver CO 80237
Lisa Hurley



Account No:                                                         C                                                                                                                                            $ 0.00
Creditor # : 22
Mariusz and Andrea Bista                                                 Notices Purposes Only
3655 Anthem Way, A109-404
Anthem AZ 85086



Account No:                                                         C                                                                                     X                                              $ 125,000.00
Creditor # : 23                                                          Personal Guarentee
Michael Bell                                                             Notices Purposes Only
2510 Falls View Circle
Grand Junction CO 81505



Account No:     120B                                                C                                                                                                                                     $ 14,354.00
Creditor       # : 24                                                    Attorneys Fees
O'Hayre,       Dawson & Norris
P.O. Box       179
Gunnison       CO 81230




Sheet No.      5 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                         $ 395,773.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 27 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8471
Account No:                                                         C                                                                                                                                         $ 139.00
Creditor # : 25                                                          Medical Bills
Pacific Rim Pathology Medical
Corp.
P.O. Box 8660
St. Louis MO 63126


          1683
Account No:                                                         W                                                                                                                                         $ 600.00
Creditor # : 26
RC Willey                                                                Furniture
P.O. Box 65320
Salt Lake City UT 84165



          119B
Account No:                                                         C                                                                                                                                      $ 6,282.00
Creditor # : 27                                                          Attorneys Fees
Robret O'Hayre, Esq.
c/o O'Hayre, Dawson & Norris
P.O. Box 179
Gunnison CO 81230


          1668
Account No:                                                         C                                                                                                                                         $ 333.00
Creditor # : 28                                                          Medical Bills
San Diego Imaging Medical Group
P.O. Box 23540
San Diego CA 92193



          1054
Account No:                                                         C                                                                                                                                           $ 27.00
Creditor # : 29                                                          Medical Bills
Sharp HealthCare
8695 Spectrum Center Blvd.
San Diego CA 92123




Sheet No.      6 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                            $ 7,381.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                        Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 28 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                            (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                               Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                         C                                                                                                                                      $ 7,800.00
Creditor # : 30                                                          Loan
Vickie Cable
367 Mesa Loop
Gunnison CO 81230



          5508
Account No:                                                         C   2006                                                                                                                             $ 480,000.00
Creditor # : 31
Wells Fargo Bank, N.A.                                                   1st TD on 1582 Gooose Creek Road,
P.O. Box 4322
Portland Or 97208                                                        Powderhorn, CO. 81243
                                                                         Mortgage in Debtors' names, title



          8104
Account No:                                                         W                                                                                                                                         $ 213.00
Creditor # : 32                                                          Overdraft / Checking Account
Wells Fargo Bank, N.A.
P.O. Box 5058
MAC: P6053-021
Portland Or 97208


          8470
Account No:                                                         C                                                                                                                                      $ 4,184.00
Creditor # : 33                                                          Line of Credit
Wells Fargo Bank, N.A.
P.O. Box 30097
Los Angeles CA 90030



          5508
Account No:                                                         C   1999                                                                                                                             $ 100,547.00
Creditor # : 34
Wells Fargo Bank, N.A.                                                   2nd T.D. on 1582 Goose Creek Road,
P.O. Box 4233
Portland Or 97208                                                        Powderhorn, CO. 81243. Mortgage in
                                                                         Debtors' names, title in name of




Sheet No.      7 of        8 continuation sheets attached to Schedule of                                                                             Subtotal $                                         $ 592,744.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                    Filed 12/20/13                       Entered 12/20/13 16:43:43                                   Doc 1                                       Pg. 29 of 66

B6F (Official Form 6F) (12/07)   - Cont.


In re LaVerne Clifford Moter and Carol Moter                                                                      ,                                   Case No.
                           Debtor(s)                                                                                                                                                                           (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                               Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2690
Account No:                                             X C                                                                                                                                               $ 4,000.00
Creditor # : 35                                                         Credit Card Purchases
Wells Fargo Visa
P.O. Box 29746
Phoenix AZ 85038



          4990
Account No:                                             X H                                                                                                                                               $ 7,568.00
Creditor # : 36                                                         Credit Card Purchases
Wells Fargo Visa
P.O. Box 348750
Sacramento CA 95834



          4982
Account No:                                             X H                                                                                                                                               $ 7,507.00
Creditor # : 37                                                         Credit Card Purchases
Wells Fargo Visa
P.O. 348750
Sacramento CA 95834



Account No:




Account No:




Sheet No.      8 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                           $ 19,075.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                      $ 2,455,733.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
              Case 13-12127-MM7                      Filed 12/20/13              Entered 12/20/13 16:43:43                       Doc 1         Pg. 30 of 66
B6G (Official Form 6G) (12/07)




In re LaVerne Clifford Moter and Carol Moter                                                                   / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.


Chen (Zack) Ching-Yang                                          Contract Type: Residential lease
2121 Mid Lane, #574                                             Terms:
Houston TX 77027                                                Beginning date:
                                                                Debtor's Interest:Lessee
                                                                Description: 12825 Stebick Ct., San Diego, CA. 92130
                                                                Buyout Option:

Rob and Lacy Wright                                             Contract Type: Residential lease
227 White Stallion Circle                                       Terms:
Crested Butte CO 81224                                          Beginning date:
                                                                Debtor's Interest:Lessee
                                                                Description: 227 White Stallion Circle, Crested Butte, CO.,
                                                                             81224
                                                                Buyout Option:




                                                                                                                                                         Page      1 of          1
              Case 13-12127-MM7                     Filed 12/20/13   Entered 12/20/13 16:43:43                Doc 1      Pg. 31 of 66
B6H (Official Form 6H) (12/07)




In re LaVerne Clifford Moter and Carol Moter                                                  / Debtor         Case No.
                                                                                                                                            (if known)


                                                       SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor

American Undeveloped R.E. Fund                                            CJ and Anne Miller
1610 Central Ave.                                                         618 N. Iowa
Cheyenne Wy 82001                                                         Gunnison CO 81230

                                                                          Gail Frank
                                                                          32285 J. Road
                                                                          Hotchkiss CO 81419

                                                                          Glenn Sammons
                                                                          103 Juniper Way
                                                                          Gunnison CO 81230

                                                                          Heidi Bagus
                                                                          29856 Redlands Mesa Road
                                                                          Hotchkiss CO 81419

                                                                          Lisa Hurley
                                                                          6820 Olive Way
                                                                          Lakewood CO

Business School Bootcamp, Inc.                                            American Express
3525 Del Mar Heights Road                                                 P.O. Box 0001
#632                                                                      Los Angeles CA 90096
San Diego CA 92130

                                                                          Wells Fargo Visa
                                                                          P.O. 348750
                                                                          Sacramento CA 95834

Financial Lifestyle Strategies                                            Wells Fargo Visa
3525 Del Mar Heights Road                                                 P.O. Box 348750
#632                                                                      Sacramento CA 95834
San Diego CA 92130

Video Advisors                                                            Wells Fargo Visa
1610 Central Ave.                                                         P.O. Box 29746
Cheyenne Wo 82001                                                         Phoenix AZ 85038



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B6I (Official Form 6I) (12/07)




In re LaVerne Clifford Moter and Carol Moter                                                              ,                    Case No.
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      Daughter                                                                                        11
                                   Daughter                                                                                        10
                                   Son                                                                                             8
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Accountant                                                               Unemployed
  Name of Employer               Self Employed
  How Long Employed              13 years
  Address of Employer            3525 Del Mar Heights Road, #63
                                 San Diego CA 92130
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                            0.00 $                             0.00
  2. Estimate monthly overtime                                                                             $                            0.00 $                             0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                             0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify):                                                                                  $                            0.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                           0.00       $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                       1,583.00       $                        0.00
  8. Income from real property                                                                             $                           0.00       $                        0.00
  9. Interest and dividends                                                                                $                           0.00       $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                        0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify): Note Receivable                                                                             $                       2,760.00 $                              0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                    4,343.00 $                              0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    4,343.00 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  4,343.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




                                                                                                                                                      Page No.       1 of         1
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In re LaVerne Clifford Moter and Carol Moter                                                                  ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                         0.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    250.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                      28.00
                d. Other      Cellular Telephone                                                                                                          $                    225.00
                  Other       Internet
                             ...................................................................................................................................................................
                                                                                                                                                          $                      40.00
                Line 2 Continuation Page Total (see continuation page for itemization)                                                                    $                      79.00
 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     600.00
 5. Clothing                                                                                                                                         $                     100.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                        0.00
 7. Medical and dental expenses                                                                                                                           $                        0.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     300.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                         0.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                       70.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                     600.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                           $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                    $                    700.00
                                                                                                      ....................................................................................
  17. Other:   Goose Creek Mortgage                                                                                                                   $                 1,600.00
      Other:   White Stallion Mortgage                                                                                                                                  2,600.00
               ...............................................................................................................................................................................
                                                                                                                                                      $
      Line 17 Continuation Page Total (see continuation page for itemization)                                                                         $                 2,029.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 9,221.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $               4,343.00
      b. Average monthly expenses from Line 18 above                                                                                                      $               9,221.00
      c. Monthly net income (a. minus b.)                                                                                                                 $             (4,878.00)
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B6J(Official Form 6J)(12/07)-Continuation Page



In re LaVerne Clifford Moter and Carol Moter                                                           ,                             Case No.
                        Debtor(s)

SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR
(Continuation page)



     2. (continuation) OTHER UTILITIES

       Cable                                                                                                                                         $                      79.00
       .......................................................................................................................................................................................
                                          Line 2 Continuation Page Total (seen as line item "2" on Schedule J)                                      $                       79.00




     17. (continuation) OTHER EXPENSES

       School      Tuition                                                                                                                           $                 2,029.00
       .......................................................................................................................................................................................
                                          Line 17 Continuation Page Total (seen as line item "17" on Schedule J)                                    $                  2,029.00
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 B 7 (Official Form 7) (4/13)

                                            UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                    SAN DIEGO DIVISION

In re: LaVerne Clifford Moter                                                                                         Case No.
       aka Vern Moter                                                                                                                      (if known)
       and
       Carol Moter
                                                                                                          ,
                                               Debtor

                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: 39,022                                     Business Income
   Last Year: $21,872
Year before: 25,389


          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

AMOUNT                                                    SOURCE

Year to date: 46,122                                      Rental Income & Note Receivable


                                                                                                                   Statement of Affairs - Page 1
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AMOUNT                                                         SOURCE

   Last Year: $3,316
Year before:


           3. Payments to creditors
 None      Complete a. or b., as appropriate, and c.

           a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
           creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
           affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
           filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                                DATES OF                                                               AMOUNT
                                                                            PAYMENTS                      AMOUNT PAID                              STILL OWING

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Creditor: Discover                                                          Monthly                       $915                                     $13,000
Address:


 None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
           commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
           an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
           repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
           must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)


           * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




 None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
           were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
           unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF CREDITOR AND                                                      DATE OF                          AMOUNT PAID                      AMOUNT
RELATIONSHIP TO DEBTOR                                                                PAYMENT                                                           STILL OWING

Creditor: Jan & Cliff Moter                                                           Monthly                          $9,976                           $80,000
Address: P.O. Box 445, Clear Lake,
SD 57226
Relationship: Parents


Creditor:Kaylea Ostaander                                                             Monthly                          $1,385                           $8,125
Address:
Relationship: Sister


Creditor: Vickie Cable                                                                Monthly                          $2,200                           $7800
Address: 367 Mesa Loop, Gunnison,
CO. 81230
Relationship: Sister


           4. Suits and administrative proceedings, executions, garnishments and attachments
 None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
           (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
           the spouses are separated and a joint petition is not filed.)




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CAPTION OF SUIT                              NATURE OF                                    COURT OR AGENCY
AND CASE NUMBER                              PROCEEDING                                     AND LOCATION                                STATUS OR DISPOSITION

American Express v.                          Collection                                   San Diego Superior                            Pending
Vern C. Moter                                                                             Court
Case No.
37-2013-00058996-CL
-CL-CTL


None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
          commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




          5. Repossessions, foreclosures and returns
None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
          within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
          concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                 DATE OF
                                                                 REPOSSESSION
NAME AND ADDRESS                                                 FORECLOSURE SALE,
OF CREDITOR OR SELLER                                            TRANSFER OR RETURN                   DESCRIPTION AND VALUE OF PROPERTY

Name: Mercedes Benz                                              7/2013                               Description: 2009 Mercedes Benz GLK
Financial Services                                                                                    350
Address:                                                                                              Value: 30,000


Name: Bank of America                                            6/2013                               Description: 2007 Mercedes Benz
Address:                                                                                              GL450
                                                                                                      Value: $25,000


          6. Assignments and receiverships
None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
          debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)




None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
          commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




          7. Gifts
None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
          family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
          (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
          unless the spouses are separated and a joint petition is not filed.)




          8. Losses
None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
          commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint


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         petition is filed, unless the spouses are separated and a joint petition is not filed.)




         9. Payments related to debt counseling or bankruptcy
None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
         consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
          this case.

                                                               DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                      NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Andrew S. Bisom                                         Date of Payment:                                       $3,500.00
Address:                                                       Payor: LaVerne Clifford
8001 Irvine Center Drive                                       Moter
Suite 1170
Irvine, CA 92618


         10. Other transfers
None     a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
         or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
         transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
         of which the debtor is a benificiary.




         11. Closed financial accounts
None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
         within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
         other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                   DIGITS OF ACCOUNT NUMBER                                  AMOUNT AND DATE
NAME AND ADDRESS OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                               OF SALE OR CLOSING

Institution: Wells Fargo                                           Account Type and No.:                                     10/2013
Bank                                                               Checking X8104
Address:                                                           Final Balance: 0


         12. Safe deposit boxes
None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
         the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
         or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         13. Setoffs
None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS                                                                                   DATE OF                        AMOUNT
OF CREDITOR                                                                                        SETOFF                         OF SETOFF


                                                                                                                      Statement of Affairs - Page 4
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NAME AND ADDRESS                                                                        DATE OF                             AMOUNT
OF CREDITOR                                                                             SETOFF                              OF SETOFF

Creditor: Wells Fargo Bank                                                              9/2013                              $1,036
Address: P.O. Box 29746, Phoeniz, AZ.
85038


         14. Property held for another person
None     List all property owned by another person that the debtor holds or controls.




         15. Prior address of debtor
None     If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
         period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                          DATES OF
ADDRESS                                                               NAME USED                                                           OCCUPANCY

Debtor:                                                               Name(s): LaVerne and Carol                                          7/11-6/12
Address: 2121 Shanley Court,                                          Moter
Las Vegas, NV. 89117


Debtor:                                                               Name(s): LaVerne and Carol                                          7/12 - 8/12
Address: 1010 10th St.,                                               Moter
Coronado, CA. 92118


Debtor:                                                               Name(s): LaVerne and Carol                                          8/12 - 6/13
Address: 851 Cabrillo,                                                Moter
Coronado, CA. 92118


Debtor:                                                               Name(s): LaVerne and Carol                                          6/13 - 11/13
Address: 12825 Stebick Ct., San                                       Moter
Diego, CA. 92130


Debtor:                                                               Name(s): LaVern and Carol                                           11/13 -
Address: 3525 Del Mar Heights                                         Moter                                                               Present
#632, San Diego, CA. 92130


         16. Spouses and Former Spouses
None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
         New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
         the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.

NAME

Name: Carol Moter


Name: Laverne Moter




                                                                                                                 Statement of Affairs - Page 5
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         17. Environmental Information
None     For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
         wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
         cleanup of these substances, wastes, or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
         debtor,
         including, but not limited to disposal sites.

         "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
         similar termunder an Environmental Law:

         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
         under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
         governmental unit to which the notice was sent and the date of the notice.




None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.


                                       LAST FOUR DIGITS OF                                                                                        BEGINNING AND
NAME                                   SOCIAL-SECURITY OR                     ADDRESS                       NATURE OF BUSINESS                    ENDING DATES
                                       OTHER INDIVIDUAL
                                       TAXPAYER-I.D. NO.
                                       (ITIN)/ COMPLETE EIN


Business School                        ID: XX-XXXXXXX                                                       On-line                               11/2006 -
Bootcamp, Inc.                                                                                              marketing of                          Present
                                                                                                            educational
                                                                                                            products


Financial                              ID: XX-XXXXXXX                                                       Financial                             8/2006 -
Lifestyle                                                                                                   services                              Present
Strategies, Inc.                                                                                            consulting




                                                                                                                    Statement of Affairs - Page 6
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                                LAST FOUR DIGITS OF                                                   BEGINNING AND
NAME                            SOCIAL-SECURITY OR     ADDRESS             NATURE OF BUSINESS         ENDING DATES
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.
                                (ITIN)/ COMPLETE EIN


Shamrock                        ID: XX-XXXXXXX                             Holding company            9/2005 -
Management, Inc.                                                           for FFL                    3/2012
                                                                           Shamrock, LP


FFL Shamrock, LP                ID: XX-XXXXXXX                             Holding company            2/2010 -
                                                                           for personal               Present
                                                                           assets for estte
                                                                           planning


FFL Shamrock                    ID:                                        Publishing                 9/2009 -
Publishing, LLC                                                            Company                    Present


Forbes Firearms,                ID:                                        Created to                 4/2009 -
Inc.                                                                       obtain a Federal           Present
                                                                           Firearms License


Wyoming V. LLC                  ID: XX-XXXXXXX                             Holding company            2002 - 2011


FFL Shamrock                    ID:                                        Holding Company            1/2007 -
Ranch, LLC                                                                                            Present


Sugar B, LLC                    ID:                                        Holding Company            11/2009 -
                                                                                                      Present


CTMA, LLC                       ID:                                        Holding Company            11/2009 -
                                                                                                      Present


Video Advisor,                  ID: XX-XXXXXXX                             Online education           8/2010 -
Inc.


American                        ID: XX-XXXXXXX                             Real Estate                12/2002 -
Undeveloped Real                                                           Investment                 4/2013
Estate Fund I. LP


LT Management                   ID:                                        Management                 11/2008 -
Services, LLC                                                              Services                   Present


Timbers Townhomes               ID:                                        Real Estate                11/2008 -
B&C, LLP                                                                   Investment                 Present


Shamrock Energy,                ID:                                        Oil & gas                  9/2005 -
LP                                                                         investments                Present


                                                                                Statement of Affairs - Page 7
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 None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




          19. Books, records and financial statements
 None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
          books of account and records of the debtor.




 None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
          or prepared a financial statement of the debtor.




 None     c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
          any of the books of account and records are not available, explain.




 None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
          within two years immediately preceding the commencement of this case.




          20. Inventories
 None     a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
          amount and basis of each inventory.




 None     b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




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         21. Current Partners, Officers, Directors and Shareholders
None     a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None     b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
         percent or more of the voting or equity securities of the corporation.




         22. Former partners, officers, directors and shareholders
None     a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None     b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
         commencement of this case.




         23. Withdrawals from a partnership or distribution by a corporation
None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
         loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




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[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date    12/17/2013                       Signature     /s/ LaVerne Clifford Moter
                                                of Debtor


                                                Signature     /s/ Carol Moter
       Date    12/17/2013
                                                of Joint Debtor
                                                (if any)




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    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




                                                                                                                        Statement of Affairs - Page 11
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Rule 2016(b) (8/91)


                                    UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA
                                            SAN DIEGO DIVISION
        LaVerne Clifford Moter                                                                      Case No.
In re
        aka Vern Moter                                                                              Chapter 7
          and
        Carol Moter
                                                                                         / Debtor
        Attorney for Debtor:   Andrew S. Bisom

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,500.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                      3,500.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                       0.00

3. $             306.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 12/17/2013                              Respectfully submitted,


                                              X /s/ Andrew S. Bisom
                        Attorney for Petitioner: Andrew S. Bisom
                                                 Bisom Law Group
                                                 8001 Irvine Center Drive
                                                 Suite 1170
                                                 Irvine CA 92618
                                                 714-643-8900
                                                 abisom@bisomlaw.com
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B 8 (Official Form 8) (12/08)


                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION

In re LaVerne Clifford Moter and Carol Moter                                                                          Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                   CHAPTER 7 STATEMENT OF INTENTION - HUSBAND'S DEBTS
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                 Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                     Describe Leased Property:                                           Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No



                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 12/17/2013                                                  Debtor: /s/ LaVerne Clifford Moter




                                                                                                                                                    Page    1 of      4
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B 8 (Official Form 8) (12/08)


                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION

In re LaVerne Clifford Moter and Carol Moter                                                                          Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                       CHAPTER 7 STATEMENT OF INTENTION - WIFE'S DEBTS
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                  Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.

 Lessor's Name:                                                     Describe Leased Property:                                          Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No



                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 12/17/2013                                                  Debtor: /s/ Carol Moter




                                                                                                                                                    Page    2 of      4
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B 8 (Official Form 8) (12/08)


                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                         SAN DIEGO DIVISION

In re LaVerne Clifford Moter and Carol Moter                                                                         Case No.
                                                                                                                     Chapter 7



                                                                                                          / Debtor




                                        CHAPTER 7 STATEMENT OF INTENTION - JOINT DEBTS
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


 Property No. 1

 Creditor's Name :                                                                 Describe Property Securing Debt :
  Avanti Federal Credit Union                                                       2007 Mercedes Benz GL450



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                     (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


 Property No. 2

 Creditor's Name :                                                                 Describe Property Securing Debt :
  Frontier Bank                                                                     Skyland Lot, Crested Butte, CO. 81224



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      Other                                                                          (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




                                                                                                                                                  Page     3 of      4
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B 8 (Official Form 8) (12/08)


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No. 1

 Lessor's Name:                                                 Describe Leased Property:                                              Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 Chen (Zack) Ching-Yang                                                                                                                365(p)(2):
                                                                  12825 Stebick Ct., San Diego,
                                                                  CA. 92130
                                                                                                                                          Yes              No




                                                                     Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 12/17/2013                                             Debtor: /s/ LaVerne Clifford Moter

Date: 12/17/2013                                             Joint Debtor: /s/ Carol Moter




                                                                                                                                                    Page   4 of   4
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B22A (Official Form 22A) (Chapter 7) (4/13)

                                                                                                According to the information required to be entered on this
                                                                                              statement (check one box as directed in Part I, III, or VI of this
  In re   LaVerne Clifford Moter and Carol Moter
                     Debtor(s)                                                                       The presumption arises.
                                                                                                     The presumption does not arise.
  Case Number:
                                                                                                   The presumption is temporarily inapplicable.
                     (If known)
                                                                                           (Check the box as directed in Parts I, III, and VI of this statement.)

                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                        AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I
applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate
statements if they believe this is required by § 707(b)(2)(C).

                                              Part I. MILITARY AND NON-CONSUMER DEBTORS
          Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning
          of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the
          verification in Part VIII. Do not complete any of the remaining parts of this statement.
 1A
            Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

          Non-consumer Debtors.If your debts are not primarily consumer debts, check the box below and complete the verification in
  1B      Part VIII. Do not complete any of the remaining parts of this statement.

             Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
          Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
          Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
          September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C.
          § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland
          defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for this temporary exclusion, (1) check the
          appropriate boxes and presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part
          VIII. complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for
          “The presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part VIII.
          During your exclusion period you are not required to complete the balance of this form, but you must complete
          the form no later than 14 days after the date on which your exclusion period ends, unless the time for filing a
          motion raising the means test presumption expires in your case before your exclusion period ends.



  1C        Declaration of Reservists and National Guard Members.By checking this box and making the appropriate entries below, I
          declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the
          Armed Forces or the National Guard

                a.      I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                      I remain on active duty /or/
                                      I was released from active duty on ________, which is less than 540 days before this bankruptcy case was filed;

                                 OR

                b.      I am performing homeland defense activity for a period of at least 90 days /or/
                        I performed homeland defense activity for a period of at least 90 days, terminating on _______, which is less than 540
                        days before this bankruptcy case was filed.
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B22A (Official Form 22A) (Chapter 7) (4/13)             - Cont                                                                                             2
                          Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
         b.        Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
               penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
               living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
               Complete only Column A ("Debtor’s Income") for Lines 3-11.
         c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.   Complete both
  2
               Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
         d.       Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
               Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the six
                                                                                                                                       Column A    Column B
         calendar months prior to filing the bankruptcy case, ending on the last day of the month before the filing.
         If the amount of monthly income varied during the six months, you must divide the six month total by six,                      Debtor's   Spouse's
         and enter the result on the appropriate line.
                                                                                                                                         Income     Income
  3      Gross wages, salary, tips, bonuses, overtime, commissions.                                                                    $0.00       $0.00

         Income from the operation of a business, profession, or farm.Subtract Line b from Line a and enter the
         difference in the appropriate column(s) of Line 4. If you operate more than one business, profession or
         farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
  4      Do not include any part of the business expenses entered on Line b as a deduction in Part V.
              a.        Gross receipts                                                    $1,583.00
              b.        Ordinary and necessary business expenses                          $700.00
                                                                                                                                       $883.00     $0.00
              c.        Business income                                                   Subtract Line b from Line a

         Rent and other real property income.          Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 5. Do not enter a number less than zero.    Do not include
         any part of the operating expenses entered on Line b as a deduction in Part V.
  5           a.        Gross receipts                                                    $866.00
              b.        Ordinary and necessary operating expenses                         $0.00
              c.        Rent and other real property income                               Subtract Line b from Line a                  $866.00     $0.00

  6      Interest, dividends, and royalties.                                                                                           $0.00       $0.00

  7      Pension and retirement income.                                                                                                $0.00       $0.00

         Any amounts paid by another person or entity, on a regular basis, for the household expenses of
         the debtor or the debtor's dependents, including child support paid for that purpose.
  8      Do not include alimony or separate maintenance payments or amounts paid by your spouse if Column B is
         completed. Each regular payment should be reported in only one column; if a payment is listed in Column A,                    $0.00       $0.00
         do not report that payment in Column B.

         Unemployment compensation.            Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act                    $0.00
                                                                 Debtor ________                   $0.00
                                                                                           Spouse _________                            $0.00       $0.00

         Income from all other sources.         Specify source and amount. If necessary, list additional sources on a
         separate page.    Do not include alimony or separate maintenance payments paid by your spouse
 10      if Column B is completed, but include all other payments of alimony or separate maintenance.
         Do not include any benefits received under the Social Security Act or payments received as a victim of a war
         crime, crime against humanity, or as a victim of international or domestic terrorism.

                   a.     Note Receivable                                                         $2,760.00

          Total and enter on Line 10                                                                                                   $2,760.00   $0.00
         Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                                     $4,509.00   $0.00

         Total Current Monthly Income for § 707(b)(7).     If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount from Line 11, Column A.                                                                           $4,509.00
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B22A (Official Form 22A) (Chapter 7) (4/13)        - Cont                                                                                           3


                                       Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).          Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                           $54,108.00

         Applicable median family income. Enter the median family income for the applicable state and
         household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                       $83,756.00
                                                 CALIFORNIA
         a. Enter debtor’s state of residence: ______________________                                       5
                                                                      b. Enter debtor’s household size: __________

         Application of Section 707(b)(7). Check the applicable box and proceed as directed.

           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.           Complete the remaining parts of this
         statement.

                     Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                $

         Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
         Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s
         dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
         spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s dependents) and
         the amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If
         you did not check box at Line 2.c, enter zero.
 17
           a.                                                                                              $

           b.                                                                                              $

           c.                                                                                              $

          Total and enter on Line 17                                                                                                   $

 18      Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                   $




                                  Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, and other items. Enter in Line 19A the “Total” amount from IRS National
         Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
 19A     at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the
         number that would currently be allowed as exemptions on your federal income tax return, plus the number of
         any additional dependents whom you support.                                                                                   $

         National Standards: health care.           Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
         Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
         Health Care for persons 65 years of age or older. (This information is available at     www.usdoj.gov/ust/ or
         from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under 65
         years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or older. (The
         applicable number of persons in each age category is the number in that category that would currently be
         allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
         you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
 19B     Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
         c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.

          Household members under 65 years of age                           Household members 65 years of age or older

         a1.    Allowance per member                                      a2.    Allowance per member

         b1.    Number of members                                         b2.    Number of members
         c1.    Subtotal                                                  c2.    Subtotal                                              $
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B22A (Official Form 22A) (Chapter 7) (4/13)          - Cont                                                                                           4
         Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
         IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 20A     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family
         size consists of the number that would currently be allowed as exemptions on your federal income tax return,
         plus the number of any additional dependents whom you support.                                                                       $

         Local Standards: housing and utilities; mortgage/rent expenses. Enter, in Line a below, the amount of the IRS
         Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
         at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of the
         number that would currently be allowed as exemptions on your federal income tax return, plus the number of any
         additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any debts
         secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B.
 20B      Do not enter an amount less than zero.

          a.       IRS Housing and Utilities Standards; mortgage/rental expense                               $
          b.       Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                                                         $
          c.       Net mortgage/rental expense                                                                Subtract Line b from Line a.    $

         Local Standards: housing and utilities; adjustment.         If you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                              $

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.

         Check the number of vehicles for which you pay the operating expenses or for which the operating
         expenses are included as a contribution to your household expenses in Line 8.
 22A
              0     1     2 or more.
         If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards: Transportation. If
         you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS Local Standards:
         Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census
         Region. (These amounts are available at     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                           $

         Local Standards: transportation; additional public transportation expense.                If you pay the operating expenses
         for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction
 22B     for your public transportation expenses, enter on Line 22B the “Public Transportation” amount from IRS Local
         Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                                                              $

         Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.   Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs                        $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                       $                                                      $
                  as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 1                           Subtract Line b from Line a.
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B22A (Official Form 22A) (Chapter 7) (4/13)           - Cont                                                                                       5
         Local Standards: transportation ownership/lease expense; Vehicle 2.
         Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.

           a.     IRS Transportation Standards, Ownership Costs                                      $
           b.     Average Monthly Payment for any debts secured by Vehicle 2,
                  as stated in Line 42                                                               $
           c.     Net ownership/lease expense for Vehicle 2                                          Subtract Line b from Line a.          $

         Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
 25      for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
         employment taxes, social-security taxes, and Medicare taxes.          Do not include real estate or sales
         taxes.
         Other Necessary Expenses: mandatory payroll deductions for employment.                  Enter the total average monthly
 26      payroll deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
         Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                           $

         Other Necessary Expenses: life insurance.         Enter total average monthly premiums that you actually
 27      pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
                                                                                                                                           $
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                Enter the total monthly amount that you are required
 28      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
         Do not include payments on past due support obligations included in Line 44.                                                      $

         Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child.        Enter the total average monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                       $

 30      Other Necessary Expenses: childcare.             Enter the total average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                     $

         Other Necessary Expenses: health care.               Enter the total average monthly amount that you actually expend on health
 31      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
         paid by a health savings account, and that is in excess of the amount entered in Line 19B.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                        $

         Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
         actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
 32      pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health
         and welfare or that of your dependents. Do not include any amount previously deducted.
                                                                                                                                           $

 33      Total Expenses Allowed under IRS Standards.           Enter the total of Lines 19 through 32                                      $


                                  Subpart B: Additional Living Expense Deductions
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                 List the monthly expenses in the
         categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.

           a.     Health Insurance                $
           b.     Disability Insurance            $
           c.     Health Savings Account          $
 34
          Total and enter on Line 34                                                                                                       $
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
           $
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B22A (Official Form 22A) (Chapter 7) (4/13)        - Cont                                                                                               6
         Continued contributions to the care of household or family members. Enter the total average actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                                       $

         Protection against family violence.            Enter the total average reasonably necessary monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                           $

         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
 37      Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
         provide your case trustee with documentation of your actual expenses, and you must demonstrate that
         reasonable and necessary and not already accounted for in the IRS Standards.                                                           $

         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age.        You must provide your case trustee
         with documentation of your actual expenses, and you must explain why the amount claimed is
         reasonable and necessary and not already accounted for in the IRS Standards.                                                           $

         Additional food and clothing expense.         Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
 39      Standards, not to exceed 5% of those combined allowances. (This information is available at     www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
         reasonable and necessary.                                                                                                              $

 40      Continued charitable contributions.          Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                            $

 41      Total Additional Expense Deductions under § 707(b).           Enter the total of Lines 34 through 40                                   $

                                              Subpart C: Deductions for Debt Payment
         Future payments on secured claims. For each of your debts that is secured by an interest in proprerty that
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
         the total of the Average Monthly Payments on Line 42.
                   Name of Creditor              Property Securing the Debt                        Average               Does payment
                                                                                                   Monthly               include taxes
                                                                                                   Payment               or insurance?
 42
          a.                                                                            $                                 yes       no
          b.                                                                            $                                 yes       no

          c.                                                                            $                                 yes       no

          d.                                                                            $                                 yes       no

          e.                                                                            $                                 yes       no

                                                                                        Total: Add Lines a - e                                  $


         Other payments on secured claims.             If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor              Property Securing the Debt                  1/60th of the Cure Amount
 43
          a.                                                                                $
          b.                                                                                $
          c.                                                                                $
          d.                                                                                $
          e.                                                                                $

                                                                                                Total: Add Lines a - e                          $
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B22A (Official Form 22A) (Chapter 7) (4/13)         - Cont                                                                                                 7
         Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
         Do not include current obligations, such as those set out in Line 28.                                                                 $
         Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                      $
 45             Current multiplier for your district as determined under
          b.
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)                             x

          c.    Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b                          $


 46      Total Deductions for Debt Payment.          Enter the total of Lines 42 through 45.                                                   $

                                              Subpart D: Total Deductions from Income
 47      Total of all deductions allowed under § 707(b)(2).         Enter the total of Lines 33, 41, and 46.                                   $

                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $

 50      Monthly disposable income under § 707(b)(2).            Subtract Line 49 from Line 48 and enter the
         result                                                                                                                                $

 51      60-month disposable income under § 707(b)(2).            Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                       $

         Initial presumption determination. Check the applicable box and proceed as directed.
           The amount on Line 51 is less than $7,475* Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52        The amount set forth on Line 51 is more than $12,475*               Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
           The amount on Line 51 is at least $7,475*, but not more than $12,475*.              Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                            $

 54      Threshold debt payment amount.            Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                           $

         Secondary presumption determination. Check the applicable box and proceed as directed.
           The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
           The amount on Line 51 is equal to or greater than the amount on Line 54.                Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.

                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                  Monthly Amount
 56
           a.                                                                           $
           b.                                                                           $
           c.                                                                           $
                                                 Total: Add Lines a, b, and c           $
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B22A (Official Form 22A) (Chapter 7) (4/13)            - Cont                                                                                                8
                                                                Part VIII: VERIFICATION
          I declare under penalty of perjury that the information provided in this statement is true and correct.          (If this a joint case,
          both debtors must sign.)

                 12/17/2013
          Date: ________________________             /s/ LaVerne Clifford Moter
                                         Signature: _____________________________________________________________________
 57
                                                        (Debtor)
                 12/17/2013
          Date: ________________________              /s/ Carol Moter
                                         Signature: _____________________________________________________________________
                                                        (Joint Debtor, if any )


*Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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Andrew S. Bisom
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Irvine, CA 92618
714-643-8900
137071
                                    UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA
                                            SAN DIEGO DIVISION


In re LaVerne Clifford Moter                                                                 Case No.
      aka Vern Moter                                                                         Chapter 7
      and
      Carol Moter
                                                                             / Debtor
     Attorney for Debtor:    Andrew S. Bisom



                                        VERIFICATION OF CREDITOR MATRIX


Part I (check and complete one):

        New petition filed. Creditor diskette required.                                    TOTAL NO. OF CREDITORS:_____

         Conversion filed on: ______________
              Former Chapter 13 converting. Creditor diskette required.                    TOTAL NO. OF CREDITORS:_____
              Post-petition creditors added. Scannable matrix required.
              There are no post-peition creditors. No matrix required.


        Amendment or Balance of Schedules filed concurrently with this original scanable matrix affectiing Schedule of Debts
        and/or Schedule of Equity Security Holders.
                            Names and addresses are being ADDED.
                            Names and addresses are being DELETED.
                            Names and addresses are being CORRECTED.


Part II (check one):

        The above-named Debtor(s) hereby verifies that the attached list of creditors is true
        and correct to the best of my (our) knowledge.

        The above-named Debtor(s) hereby verifies that there are no post-petition creditors
        affected by the filing of the conversion of this case and that the filing of a matrix is not required.




Date: 12/17/2013                                                    /s/ LaVerne Clifford Moter
                                                                    Debtor:
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                                           /s/ Carol Moter
                                           Joint Debtor:
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                     American Express
                     P.O. Box 0001
                     Los Angeles, CA 90096



                     Avanti Federal Credit Union
                     P.O. Box 534
                     Watertoon, SD 57201



                     Bank of America
                     P.O. Box 21848
                     Greensboro, NC 27420



                     Bank of the West
                     Mail Stop NE-BBP-03-B
                     P.O. Box 2573
                     Omaha, NE 68103



                     Bank of the West
                     13505 California St.
                     NE-BBP-01-T
                     Omaha, NE 68154



                     Carl and Diane Miller
                     7911 County Road 730
                     Gunnison, CO 81230



                     CJ and Anne Miller
                     618 N. Iowa
                     Gunnison, CO 81230



                     Colorado Department of Revenue
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                     Discover
                     P.O. 30943
                     Salt Lake City, UT    84130



                     Doug Martin
                     16380 County Road, #306
                     Buena Vista, CO 81211



                     Ferrellgas
                     P.O. Box 1003
                     Liberty, MO 64069



                     Frontier Bank
                     P.O. Box 7319
                     Pueblo West, CO    81007



                     Gail Frank
                     32285 J. Road
                     Hotchkiss, CO    81419



                     GE Capital Retail Bank
                     P.O. Box 103106
                     Att: Bankruptcy Dept.
                     Rosewell, GA 30076



                     Glenn Sammons
                     103 Juniper Way
                     Gunnison, CO 81230



                     Gunnison County Treasurer
                     221 N. Wisconson, Ste. T
                     Gunnison, CO 81230
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                     Heidi Bagus
                     29856 Redlands Mesa Road
                     Hotchkiss, CO 81419



                     HVM Inc. Security Systems
                     P.O. Box 276
                     Crested Butte, CO 81224



                     Integral Recoveries
                     750 W. Hampden Ave., #501
                     Englewood, CO 80110



                     Cliff and Jan Moter
                     P.O. Box 445
                     Clear Lake, SD 57226



                     Kaylea Ostander
                     P.O. Box 445
                     Clear Lake, SD 57226



                     Lisa Hurley
                     6820 Olive Way
                     Lakewood, CO



                     Mariusz and Andrea Bista
                     3655 Anthem Way, A109-404
                     Anthem, AZ 85086



                     Michael Bell
                     2510 Falls View Circle
                     Grand Junction, CO 81505
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                     O'Hayre, Dawson & Norris
                     P.O. Box 179
                     Gunnison, CO 81230



                     Pacific Rim Pathology Medical
                     P.O. Box 8660
                     St. Louis, MO 63126



                     RC Willey
                     P.O. Box 65320
                     Salt Lake City, UT    84165



                     Revenue Cycle Management
                     P.O. Box 638
                     Moon Twp., PA 15108



                     Richard Dally, Esq.
                     4601 DTC Blvd, Ste. 950
                     Denver, CO 80237



                     Richard L. Dally, Esq.
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                     Denver, CO 80237



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                     San Diego Imaging Medical Grou
                     P.O. Box 23540
                     San Diego, CA 92193
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                     Sharp HealthCare
                     8695 Spectrum Center Blvd.
                     San Diego, CA 92123



                     Vickie Cable
                     367 Mesa Loop
                     Gunnison, CO 81230



                     Wells Fargo Bank, N.A.
                     P.O. Box 4322
                     Portland, Or 97208



                     Wells Fargo Bank, N.A.
                     P.O. Box 5058
                     MAC: P6053-021
                     Portland, Or 97208



                     Wells Fargo Bank, N.A.
                     P.O. Box 30097
                     Los Angeles, CA 90030



                     Wells Fargo Bank, N.A.
                     P.O. Box 4233
                     Portland, Or 97208



                     Wells Fargo Visa
                     P.O. Box 29746
                     Phoenix, AZ 85038



                     Wells Fargo Visa
                     P.O. Box 348750
                     Sacramento, CA 95834
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                     Wells Fargo Visa
                     P.O. 348750
                     Sacramento, CA 95834
